        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 1 of 19
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                                                                     U.S.D.C. - Gainesville

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                                                                  JAME s      ATTEN, Clerk
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION

LUXOTTICA GRUP S.p.A., an
Italian corporation, and OAKLEY, INC.,
a Washington corporation,

            Plaintiffs,                           Civil Action File No.:

                V.                                  2:19- CV- 01 67
VIRPANATH INC., a Georgia corporation,
BATESVILLE JUNCTION STORE LLC,
a Georgia limited liability company,
and ASHISHKUMAR PATEL, an
individual,

            Defendants.


                                  COMPLAINT
      Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (collectively, "Plaintiffs"),

through undersigned counsel, hereby sue Defendants Virpanath Inc., Batesville

Junction Store LLC and Ashishkumar Patel, individually (collectively,

"Defendants"), and allege as follows:




                                          1
           Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 2 of 19




                         JUMSDISCTION AND VENUE

      1.      This Court has jurisdiction over the parties and over the subject matter

of this action pursuant to 28 U.S.C. §§ 1331 and 1338 because it involves a

substantial claim arising under the Lanham Act.        This Court has supplemental

jurisdiction over the state law claim under 28 U.S.C. § 1367 in that such claim is

related to the claim under this Court's original jurisdiction and forms part of the

same case or controversy under Article III of the United States Constitution.

      2.      Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants

reside, have their principal place of business and continue to infringe Luxottica

Group S.p.A.'s and Oakley Inc.'s famous trademarks in this Judicial District.

                                     PARTIES
      3.      Plaintiff Luxottica Group S.p.A. ("Luxottica Group") is an Italian

corporation with its principal place of business in Milan, Italy.

      4.      Plaintiff Oakley, Inc. ("Oakley") is a corporation organized and

existing under the laws of the State of Washington, having its principal place of

business in Foothill Ranch, California.       Oakley is an indirect wholly-owned

subsidiary of Luxottica Group.

      5.      Defendant Virpanath Inc. is a Georgia corporation with a principal

place of business in Gainesville, Georgia. Virpanath Inc. operates a grocery retail


                                          2
            Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 3 of 19




store under the trade name "Don Magnum's Grocery" located at 3746 Harmony

Church Road, Gainesville, Georgia 30507. As alleged herein, Virpanath Inc. is

directly engaging in the promotion and sale of merchandise within this Judicial

District.

       6.      Defendant Batesville Junction Store LLC is a Georgia limited liability

company with a principal place of business in Clarkesville, Georgia.       Batesville

Junction LLC operates a grocery retail store located at 13440 Hwy. 197,

Clarkesville, Georgia 30523. As alleged herein, Batesville Junction LLC is directly

engaging in the promotion and sale of counterfeit merchandise within this Judicial

District.

       7.      Defendant Ashishkumar (Alex) Patel ("Patel") is a resident of Jackson

County, Georgia. Patel is a principal, officer, manager and director, and the moving

force behind both Virpanath Inc.'s and Batesville Junction LLC's operations.

                               FACTUAL ALLEGATIONS

A.     The World-Famous Luxottica Brands and Products
       8.      Luxottica Group is engaged in the manufacture, marketing and sale of

premium, luxury and sports eyewear throughout the world. Luxottica Group's

proprietary brands include Ray-Ban, the world's most famous sun eyewear brand,

as well as Oakley, Vogue Eyewear, Persol, Oliver Peoples, Alain Mikli and Arnette.


                                           3
           Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 4 of 19




      9.      Through its affiliates and subsidiaries, Luxottica Group operates over

7,000 optical and sun retail stores, including LensCrafters, Pearle Vision and MORI

in North America, OPSM and Laubman & Panic in Asia-Pacific, LensCrafters in

China, GMO in Latin America and Sunglass Hut worldwide.

      10.     Luxottica Group's Ray-Ban products are distributed and sold through

its optical and sun specialty retail stores, authorized retail and department stores, and

via its various websites, including www.ray-ban.com, throughout the United States,

including Georgia.

      11.     Luxottica Group has used a variety of legally-protected trademarks for

many years on and in connection with the advertisement and sale of its Ray-Ban

products, including but not limited to, those detailed in this Complaint.

      12.     Luxottica Group has expended substantial time, money, and other

resources in developing, advertising, and otherwise promoting the Ray-Ban

trademarks. As a result, products bearing the Ray-Ban trademarks are widely

recognized and exclusively associated by consumers, the public, and the trade as

being high quality products sourced from Luxottica Group, and have acquired strong

secondary meaning.




                                           4
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 5 of 19




      13.   Luxottica Group is the owner of various trademarks under the Ray-Ban

brand, including, but not limited to, the following United States Federal Trademark

Registrations (collectively, the "Ray-Ban Marks"):

  Re istration
                            Trademark                  Good and Services
   Number
                                               For class 9: sunglasses, shooting
    650,499                 TrAIIP 141*        Glasses, and ophthalmic lenses.
                                               For class 9: ophthalmic products and
                                               accessories — namely, sunglasses;
                                               eyeglasses; spectacles; lenses and
                        ,                      frames for sunglasses, eyeglasses,
    1,093,658                     , OtOt
                                               spectacles and goggles; and cases
                                               and other protective covers for
                                               sunglasses, eyeglasses, spectacles.


                                               For class 9: sunglasses, eyeglasses,
    3,522,603                         Mt       lenses for eyeglasses, eyeglasses
                            TAI4               frames, cases for eyeglasses


                                               For class 9 : sunglasses, eyeglasses,
    2,971,023                  -to0            eyeglass lenses




                                           5
         Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 6 of 19




      14.    Luxottica Group has long been manufacturing and selling in interstate

commerce eyewear under the Ray-Ban Marks.' These registrations are valid and

subsisting and the majority are incontestable.

      15.    The registration of the marks constitutes prima facie evidence of their

validity and conclusive evidence of Luxottica Group's exclusive right to use the

Ray-Ban Marks in connection with the goods identified therein and other

commercial goods.

      16.    The registration of the marks also provides constructive notice to

Defendants of Luxottica Group's ownership and exclusive rights in the Ray-Ban

Marks.

      17.    The Ray-Ban Marks qualify as famous marks, as that term is used in 15

U.S.C. § 1125(c)(1).

      18.    The Ray-Ban Marks at issue in this case have been continuously used

in interstate commerce and have never been abandoned.




1 All registrations originally held in the name of Luxottica Group's predecessor's
owner of the Ray-Ban Trademarks, Bausch and Lomb were assigned in full to
Luxottica Group in 1999.
                                          6
         Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 7 of 19




B.    The World Famous Oakley Brand and Products.

      19. Oakley is an internationally recognized manufacturer, distributor and

retailer of sports eyewear, apparel, footwear, outerwear, jackets, accessories and

other related merchandise.

      20.    Oakley products are distributed and sold to consumers through its own

Oakley 0 stores, its affiliate's sun retail stores, authorized retailers, and via its

internet website: www.oakley.com throughout the United States, including Georgia.

      21.    Oakley has used a variety of legally-protected trademarks for many

years on and in connection with the advertisement and sale of its Oakley products,

including but not limited to, those detailed in this Complaint.

      22.    Oakley has expended substantial time, money, and other resources in

developing, advertising, and otherwise promoting the Oakley trademarks. As a

result, products bearing the Oakley trademarks are widely recognized and

exclusively associated by consumers, the public, and the trade as being high quality

products sourced from Oakley, and have acquired strong secondary meaning.

      23.    Oakley is the owner of various trademarks under the Oakley brand,

including, but not limited to, the following United States Federal Trademark

Registrations (collectively, the "Oakley Marks"), among others:



                                          7
   Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 8 of 19




Re' istration                                Good and Services
                  Trademark
 Number

                                    For class 9: protective eyewear,
                                    namely spectacles, prescription
                                    eyewear, anti glare glasses and
                                    sunglasses and their parts and
 3,151,994                          accessories, namely replacement
                      III           lenses, frames, earstems, and nose
                                    pieces; cases specially adapted for
                                    spectacles and sunglasses and their
                                    parts and accessories

                                    For: classes 9, 25: protective and/or
                                    anti-glare eyewear, namely
                                    sunglasses, goggles, spectacles and
                                    their parts and accessories, namely
                                    replacement lenses, earstems,
                                    frames, nose pieces and foam strips;
 1,984,501        4DO               cases specially adapted for
                                    protective and/or anti-glare eyewear
                                    and their parts and accessories;
                                    clothing and headwear, namely t-
                                    shirts, sweatshirts, jackets, hats, and
                                    caps

                                    For class 9: eyewear, namely,
                                    sunglasses, goggles for sports,
                                    spectacles and their parts and
 5,636,292                          accessories, namely, replacement
                HOLBROOK            lenses, ear stems, frames, nose
                                    pieces and foam strips; cases
                                    specifically adapted for eyewear and
                                    their parts and accessories


                                8
         Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 9 of 19




      24.    Oakley has long been manufacturing and selling in interstate commerce

eyewear under the Oakley Marks. These registrations are valid and subsisting and

the majority are incontestable.

      25.    The registration of the Oakley Marks constitutes prima facie evidence

of their validity and conclusive evidence of Oakley's exclusive right to use the

Oakley Marks in connection with the goods identified therein and other commercial

goods.

      26.    The registration of the Oakley Marks also provides constructive notice

to Defendant of Oakley's ownership and exclusive rights in the Oakley Marks.

      27.    The Oakley Marks qualify as famous marks, as that term is used in 15

U.S.C. § 1125(c)(1).

      28.    The Oakley Marks at issue in this case have been continuously used in

interstate commerce and have never been abandoned.

C.    Defendants' Infringing Conduct
      29.    The U.S. Bureau of Customs and Border Protection ("CBP")

periodically inspects a fraction of the merchandise imported into the United States.

As a result of one such inspection, CBP identified "Alex Patel" as the importer of

sunglasses bearing counterfeits of Ray-Ban trademarks.




                                         9
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 10 of 19




      30.    On or about May 16, 2019, CBP provided Luxottica Group with a

Notice of Seizure of Infringing Merchandise (No. 2019520600392701) identifying

Alex Patel located at 3742 Harmony Church Road, Gainesville, Georgia 30507 as

the importer of record of at least 50 pair of sunglasses bearing counterfeits of Ray-

Ban trademarks imported into the Port of Miami.

      31.    On June 3, 2019, Luxottica Group's investigator discovered that

Defendant Virpanath Inc. located at 3746 Harmony Church Road, Gainesville,

Georgia 30507 was advertising, publicly displaying, offering for sale, and/or selling

sunglasses bearing logos and source-identifying indicia and design elements that are

imitations of one or more of the Ray-Ban and Oakley Marks.

      32.    Luxottica Group's investigator purchased one pair of sunglasses bearing

counterfeits of the Ray-Ban Marks and one pair of sunglasses bearing counterfeits

of the Oakley Marks for a total of $11.75. Photographs of the sunglasses purchased

from Virpanath's business, along with the purchase receipt are depicted below:




                                         10
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 11 of 19




                                                                      MANGUMS
                                                                      GROCERY
                                                                    770-538-4855
                                                                 06/03/2019 000000
                                                                 #4221 9:29All SERY.05 0005
                                                                 GROCERY 2          00.99
                                                                 GROCERY 2          09.90
                                                                 HOSE ST             $10.90
                                                                 11101                10.77
                                                                 vuYOTAL        $11.75
                                                             I   CASH              S20.00
                                                            l'   CHANGE             $5.25



      33.   On June 17, 2019, Luxottica Group's investigator, on behalf of Oakley,

discovered that Defendant Batesville Junction Store LLC located at 13440 Highway

197, Clarkesville, Georgia 30523, was advertising, publicly displaying, offering for

sale, and/or selling sunglasses bearing logos and source-identifying indicia and

design elements that are imitations of one or more of the Oakley Marks.

      34.   Luxottica Group's investigator purchased one pair of sunglasses bearing

counterfeits of the Oakley Marks for a total of $15.99.           Photographs of the

sunglasses purchased from Batesville Junction Store LLC along with the purchase

receipt are depicted below:




                                        11
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 12 of 19




      35.    The purchased items depicted above (collectively, the "Counterfeit

Merchandise") were inspected by Luxottica Group on behalf of Plaintiffs, and it was

determined that the sunglasses bearing reproductions of the Oakley and Ray-Ban

Marks were in fact counterfeit products that infringed Luxottica Group's and

Oakley's Marks.

      36.    Defendants have no license, authority, or other permission from

Luxottica Group or Oakley to use any of the Ray-Ban and Oakley Marks in

connection with the advertising, promoting, distributing, displaying, selling, and/or

offering for sale of the Counterfeit Merchandise.

      37.    The foregoing acts of the Defendants are intended to cause, have

caused, and are likely to continue to cause confusion or mistake, or to deceive

consumers, the public, and the trade into believing that counterfeit Ray-Ban and




                                         12
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 13 of 19




Oakley products offered for sale and sold by Defendants are authentic or authorized

products of Luxottica Group and Oakley.

      38.   The activities of the Defendants, as described above, are likely to create

a false impression and deceive consumers, the public, and the trade into believing

that there is a connection or association between the counterfeit Ray-Ban and

Oakley products and Luxottica Group and Oakley.

      39.   Defendants are well aware of the extraordinary fame and strength of the

Ray-Ban and Oakley brands, the Luxottica Group and Oakley trademarks, and the

incalculable goodwill associated therewith.

      40.   Defendant Patel has materially contributed to and facilitated the above-

described infringement of the Luxottica Group and Oakley Marks by having

permitted the offering for sale and the sale of Counterfeit Merchandise by Batesville

Junction Store LLC and Virpanath Inc. through (i) Defendant Patel's knowledge of

the offering for sale and the sale of the Counterfeit Merchandise, (ii) Defendant

Patel's constructive knowledge of the offering for sale and the sale of the

Counterfeit Merchandise or, alternatively, (iii) Defendant Patel's willful blindness

to the offering for sale and the sale of the Counterfeit Merchandise.

      41.   Defendants' knowing and deliberate hijacking of Luxottica Group's

and Oakley's famous marks, and sale of the Counterfeit Merchandise have caused,

                                         13
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 14 of 19




and continues to cause, substantial and irreparable harm to Luxottica Group's and

Oakley's goodwill and reputation. In addition, the damages caused by Defendants

are especially severe because the Counterfeit Merchandise was cheap, inexpensive

and inferior in quality to authentic Ray-Ban and Oakley products.

      42.   The harm being caused to Luxottica Group and Oakley is irreparable

and Luxottica Group and Oakley do not have an adequate remedy at law. Luxottica

Group and Oakley therefore seek the entry of an injunction preventing the sale of

Counterfeit Merchandise by Defendants.

      43.   Luxottica Group and Oakley also seek damages, including exemplary

damages, as a result of Defendants' knowing, deliberate and willful disregard of the

activities infringing Luxottica Group's and Oakley's Marks.

                                  COUNT I
                           Trademark Counterfeiting
                              (15 U.S.C. § 1114)
      44.   Luxottica Group and Oakley repeat and reallege Paragraphs 1 through

43 above.

      45.   Defendants without authorization from Luxottica Group and Oakley,

have used spurious designations that are identical to, or substantially

indistinguishable from the Ray-Ban and Oakley Marks.




                                        14
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 15 of 19




      46.    The foregoing acts of Defendants are intended to cause, have caused,

and are likely to continue to cause confusion or mistake, or to deceive consumers,

the public, and the trade into believing that counterfeit Ray-Ban and Oakley

products offered for sale and sold by Defendants are authentic or authorized

products of Luxottica Group and Oakley.

      47.    Defendants' activities, as described above, are likely to create a false

impression and deceive consumers, the public, and the trade into believing that there

is a connection or association between the counterfeit Ray-Ban and Oakley products

and Luxottica Group and Oakley.

      48.    Defendants have willfully infringed Luxottica Group's and Oakley's

Marks under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

                                COUNT II
                Trademark Counterfeiting under Georgia Law
                          (0.C.G.A. S10-1-451)

      49.    Luxottica Group and Oakley repeat and reallege Paragraphs 1 through

48 above.

      50.    The Defendants, without authorization from Luxottica Group and

Oakley, have used spurious designations that are identical to, or substantially

indistinguishable from the Ray-Ban and Oakley Marks in connection with the sale

of inauthentic and counterfeit products in the state of Georgia.

                                         15
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 16 of 19




      51.    The foregoing acts of Defendants are intended to cause, have caused,

and are likely to continue to cause confusion or mistake, or to deceive consumers,

the public, and the trade into believing that the counterfeit Ray-Ban and Oakley

products offered for sale and sold by Defendants are authentic or authorized

products of Luxottica Group and Oakley.

      52.    By reason of the foregoing acts of Defendants, there exists a likelihood

of injury to the business reputation or of dilution of the distinctive quality of the

Luxottica Group's and Oakley's Marks in violation of 0.C.G.A. § 10-1-451(b).

      53.    Defendants' dilution of the distinctive Luxottica Group's and Oakley's

Marks has irreparably damaged Luxottica Group and Oakley and will continue to

damage Luxottica Group and Oakley irreparably unless enjoined by this Court, as a

result of which Luxottica Group and Oakley is without an adequate remedy at law.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs Luxottica Group S.p.A. and Oakley, Inc.

respectfully request that this Court enter judgment in their favor and against

Defendants Virpanath Inc., Batesville Junction Store LLC and Ashishkumar Patel,

jointly and severally, as follows:

      A.     Finding that: Defendants have violated Section 32 of the Lanham Act

(15 U.S.C. § 1114),

                                         16
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 17 of 19




      B.     Granting an injunction, pursuant to Rule 65 of the Federal Rules of

Civil Procedure, 15 U.S.C. § 1116, and 17 U.S.C. § 502, preliminarily and

permanently restraining and enjoining Defendants, their agents, employees, vendors

and attorneys, and all those persons or entities in active concert or participation with

them from:

             1.     manufacturing, importing, advertising, marketing, promoting,

supplying, distributing, offering for sale, or selling any products which bear the

Luxottica Group and Oakley Marks, or any other mark or design element

substantially similar or confusing thereto, including, without limitation, the

Counterfeit Merchandise, and engaging in any other activity constituting an

infringement of any of Luxottica Group's and Oakley's rights in the Marks;

             2.     engaging in any other activity constituting unfair competition

with Luxottica Group and Oakley, or acts and practices that deceive consumers, the

public, and/or trade, including without limitation, the use of designations and design

elements associated with Luxottica Group and Oakley;

      C.     Requiring Defendants to file with this Court and serve on Luxottica

Group and Oakley within thirty (30) days after entry of the injunction a report in

writing under oath setting forth in detail the manner and form in which Defendants

have complied with the injunction;

                                          17
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 18 of 19




      D.     Directing such other relief as the Court may deem appropriate to

prevent consumers, the public, and/or the trade from deriving any erroneous

impression that any product at issue in this action that has been manufactured,

imported, advertised, marketed, promoted, supplied, distributed, offered for sale, or

sold by Defendants, has been authorized by Luxottica Group and Oakley, or is

related in any way with Luxottica Group and Oakley and/or their products;

      E.     Awarding Luxottica Group and Oakley statutory damages per

counterfeit mark per type of good offered for sale in accordance with Section 35 of

the Lanham Act (15 U.S.C. § 1117);

      F.     Awarding Luxottica Group and Oakley their costs, investigatory fees,

and expenses to the full extent provided by Section 35 of the Lanham Act (15 U.S.C.

§ 1117);

      G.     Awarding Luxottica Group and Oakley pre-judgment interest on any

monetary award made part of the judgment against Defendants; and

      H.     Awarding Luxottica Group and Oakley such additional and further

relief as the Court deems just and proper.




                                         18
        Case 2:19-cv-00167-RWS Document 1 Filed 07/31/19 Page 19 of 19




                         DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Luxottica

Group and Oakley request a trial by jury in this matter.

Respectfully submitted this 31 day of July, 2019.

                                                    Sperry IP Law d/b/a Vivid IP




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                                         19
